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                   9

                 10                                 UNITED STATES DISTRICT COURT

                 11                                EASTERN DISTRICT OF CALIFORNIA

                 12                                     SACRAMENTO DIVISION

                 13

                 14 RALPH COLEMAN, et al.,                              Case No. 2:90-CV-00520- KJM-SCR

                 15                  Plaintiffs,                        JOINT STATEMENT IN RESPONSE TO
                                                                        OCTOBER 1, 2024 MINUTE ORDER
                 16           v.

                 17 GAVIN NEWSOM, et al.                                Judge:    Hon. Kimberly J. Mueller

                 18                  Defendants.

                 19

                 20           At the Court Hearing Regarding Defendants’ Objections to the Special Master’s Expert’s

                 21 Sixth Re-Audit Report and Status of Appointment of a Receiver held on September 30, 2024, the

                 22 Court asked the parties to confirm whether, due to the passage of time, Defendants’ February 9,

                 23 2023 Motion for Redaction of Second Golding Report (ECF No. 7720) is now moot. See also

                 24 Oct. 1, 2024 Minute Order at ECF No. 8414. The parties submit the following joint response,

                 25 setting forth their positions below.

                 26           Defendants agree with the Court that Defendants’ pending motion at ECF No. 7720 is now

                 27 moot due to both the passage of time (as this Court observed), as well as this Court’s resolution of

                 28 the dispute arising from Dr. Golding’s Second Report (see May 24, 2023 Order at ECF No. 8747

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                   1 at 2:17 [“the court now resolves the disputes above”]). However, in the event that this Court

                   2 orders Dr. Golding’s Second Report to be publicly filed on the docket, Defendants request that the

                   3 redactions set forth in their motion be ordered.

                   4          Plaintiffs hereby withdraw their opposition to Defendants’ Redaction Motion in the

                   5 interests of judicial economy, but maintain that the Second Golding Report must be made part of

                   6 the record in this case. The report forms the basis for Plaintiffs’ motion to clarify (ECF Nos.

                   7 7721, 7752, 7752-1 through -9, 7768, 7768-1) and is a necessary part of the record in support of

                   8 the May 24, 2023 Order resolving portions of that motion (ECF No. 7847 at 2 & n.2). Plaintiffs

                   9 would have simply filed the Second Golding Report in support of their clarification motion if not

                 10 for Defendants’ claims of privilege (see ECF No. 7678; ECF No. 7690), which were ultimately

                 11 resolved (see ECF No. 7720 at 4 (citing ECF No. 7718)), leaving only their privacy-related

                 12 requests. Defendants did not seek to block the filing of the report or ask that it be filed under seal,

                 13 only that it be filed with targeted redactions. Id. at 2. Plaintiffs therefore ask that the report be

                 14 filed on the docket, with the redactions requested in Defendants’ motion.

                 15

                 16 DATED: October 2, 2024                                ROB BONTA
                                                                          Attorney General of California
                 17

                 18
                                                                    By:          /s/ Damon McClain
                 19                                                       DAMON MCCLAIN
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                 20                                                       ELISE OWENS THORN
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                 21                                                       Attorneys for Defendants
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                 23

                 24

                 25                                                By:          /s/ Samantha Wolff
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                                                                         Attorneys for Defendants
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                   1 DATED: October 2, 2024                     ROSEN BIEN GALVAN & GRUNFELD LLP

                   2
                                                              By:         /s/ Lisa Ells
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